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Pro Se 2 Rev. 12/16 Com laint and Re nest for ln ·unction

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                                       UNITED STATES DISTRICT COURW.: UG-a PH
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                                                                        for the                    OFflCc r: -:-· ' - ~
                                                               D istrict of Nebraska      [:]            C, 1f ic l ;I [Rf
                                                               - - - - Division

                                                                         )
                                                                               Case No.
                                                                         )
                                                                         )                 (to be filled in by th e Clerk's Office)

                                                                         )
                              Plaintiff(s)
(Write the full name of each p laintiff who is filing this complaint.    )
If the names of all the plaintiffs cannot fit in the space above,        )
please write "see attached " in the space and attach an additional       )
page with the full list of names.)
                                                                         )
                                 -v-
                                                                         )
                                                                         )
                                                                         )
                                                                         )
                                                                         )
                              Defenda nt(s)
(Write the full name of each defendant who is being sued. ff the
                                                                         )
names of all th e defendants cannot fi t in the space above, please      )
write "see attached" in the space and attach an additional page
with the full list of names.)



                                   COMPLAINT AND REQUEST FOR INJUNCTION

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                               Name
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address


          B.        The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (if known). Attach additional pages if needed.

                                                                                                                                           Page I of 6
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Pro Se 2 (Rev. 12/16) Complaint and Request fo r Injunction


                     Defendant No. 1
                                Name
                                 Job or Title (if known)
                                 Street Address                      fvOJr             ·(   ~ Ve   S1--e lr;Cb
                                 City and County              OT ·o.-,iJ er
                                 State and Zip Code
                                 Telephone Number             lf o~ <f / 7 I:)_ 7'7'~ <?'~tr   ?'73 ~ fL/ J
                                 E-mail Address (if known)    CX @&rft-.eee:;ele.r C C>?VJ
                      Defendant No. 2
                                Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)


                      Defendant No. 3
                                 Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)


                      Defendant No. 4
                                 Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)



                                                                                                   Page 2 of 6
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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331 , a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                 freaeral question                                ~ e r s i t y of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction ls a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                      areatissueinthiscase.            fc7 S S/JJ/e_             /<{   [/SC           ~      t/f; /<{ Jllfc)___
                !Jot- +r.(!_~+u ~/r e71                                             Ectl{_cJ
           B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.         The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                            The plaintiff, (name)    8{ e,_,(l [?Vt We__[Ct.,                      , is a citizen of the
                                            State of (name)     NeJi / ~/:..._~
                                 b.         If the plaintiff is a co rporation
                                            The plaintiff, (name)                                                  , is incorporated
                                            under the laws of the State of (name)
                                            and has its principal place of business in the State of (name)



                                 (If more than one plaintiff is named in the complaint, attach an additional page pro viding the
                                 same information for each additional plaintiff.)

                      2.         The Defendant(s)

                                 a.         If the defendant is an individual
                                            The defendant, (name)                                                  , is a citizen of
                                                                        ----------------
                                            the State of (name)                                                  0 r is a citizen of
                                             (foreign nation)



                                                                                                                               Page 3 of 6
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                                 b.        If the defendant is a corporation
                                            The defendant, (name)
                                            the laws of the State of (name)
                                            principal place of business in the State of (name)
                                            Or is incorporated under the laws of (foreign nation}
                                            and has its principal place of business in (nam e)


                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additio,:zal defendant.)

                      3.         The Amount in Controversy

                                 The amow1t in controversy- the amount the plaintiff claims the defendant owes or the amount at
                                 stake-is more than $75 ,000, not counting interest and costs of court, because (explain) :

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                                 --zitf4 ;,+     8-m-                ;
III.       Statement of Claim

           Write a short and plain statement of the claim. Do not make legal arguments . State as briefly as possible the
           facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
           was involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights ,
           including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
           claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
           needed .

           A.         Where did the events giving rise to your claim(s) occur?

                 {J11 ( fn e_               a/2 d             ct Ver            -th e_ f A_pr/J .e__/



           B.




                                                                                                                        Page 4 of 6
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          C.




IV.       Irreparable Injury

          Explain why monetary damages at a later time would not adequately compensate you for the injuries you
          sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
          could not be measured.          EX+r--€_ m-e ' ) ft-e [th ooc/_                  o-1-- CC?/lf.I/'luef
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V.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
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          punitive money damages .                         tff8 , . /?.e VO' te_ L/c:e/l s es , ,
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VI.       Certification and Closing

          Under Federal Rule of Civil Procedure 11 , by signing below, I certify to the best ofmy knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.          For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.

                      Date of signing:


                      Signature of Plaintiff
                      Printed Name of Plaintiff


           B.         For Attorneys


                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                      Name of Law Firm
                      Street Address
                      State and Zip Code
                      Telephone Number
                      E-mail Address




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      f MORGAN & MORGAN I




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      powerful institutions that seek to
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      compensation. Some attorneys
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      your case in the strongest terms at
      trial. We never settlle for less, and
      neither should you.
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